         Case 1:22-cr-00673-LAK Document 173 Filed 07/01/23 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------x
UNITED STATES OF AMERICA,


               -against-                                                             22-cr-0673 (LAK)


SAMUEL BANKMAN-FRIED, et al.,

                      Defendants.
------------------------------------------x


                         SCHEDULING ORDER FOR TRIAL-RELATED
                               MOTIONS AND DISCOVERY


LEWIS A. KAPLAN, District Judge.

               The Court appreciates the largely successful efforts of counsel to work out a mutually
acceptable schedule, much of which is adopted in this order which in some respects modifies the
agreement and, in addition, resolves points on which counsel were not in agreement.

               The following schedule is adopted.

       August 14, 2023          The Government shall provide notice to the defendant of evidence it
                                may seek to offer pursuant to Federal Rule of Evidence 404(b).

                                The parties shall provide notice to each other, consistent with the
                                requirements of Federal Rule of Criminal Procedure 16, of experts
                                potentially to be called, if any, during the Government’s case-in-
                                chief and the defendant’s case.

                                The defendant shall provide notice to the Government, consistent
                                with the requirements of Federal Rules of Criminal Procedure 12.2
                                and 16, of his intention to present an advice of counsel defense or a
                                defense based on mental condition or defect.

                                The parties shall file any motions in limine.
       August 21, 2023          The parties shall file proposed jury instructions.

                                The parties shall provide notice to each other, consistent with the
                                requirements of Rule 16, of rebuttal experts, if any, to be called
                                during the defendant’s case or during the Government’s rebuttal
                                case.
           Case 1:22-cr-00673-LAK Document 173 Filed 07/01/23 Page 2 of 2




                                                                                                            2

         August 28, 2023       The parties shall file any Daubert motions.

                               The parties shall file oppositions to motions in limine.
     September 8, 2023         The Government shall provide to the defendant material covered by
                               18 U.S.C. § 3500, including material pursuant to Giglio v. United
                               States, 405 U.S. 150 (1972), other witness materials, and a list of
                               witnesses whom the Government reasonably expects to call in its
                               case-in-chief. The Government shall continue to provide witness
                               materials as they are generated on a rolling basis.

                               The Government shall provide to the defendant a list of exhibits the
                               Government reasonably expects to seek to introduce during its
                               case-in-chief. This exhibit list will be subject to good-faith revision as
                               the Government continues to prepare its case for trial, including in
                               response to the defense’s list of proposed exhibits that it anticipates
                               seeking to introduce into evidence during the Government’s
                               case-in-chief.
     September 11, 2023        The parties shall file oppositions to any Daubert motions.

                               The parties shall file proposed questions for the examination of
                               prospective jurors.
     September 18, 2023        Defense counsel shall provide to the Government a list of exhibits that
                               the defendant reasonably expects to introduce during the
                               Government’s case-in-chief or the defendant’s case. This exhibit list
                               will be subject to good-faith revision as the defense continues to
                               prepare for its case.

                               The defendant shall produce material covered by Federal Rule of
                               Criminal Procedure 16.

                               Defense counsel shall provide to the Government material covered by
                               Federal Rule of Criminal Procedure 26.2 and a list of witnesses
                               whom the defendant reasonably expects to call in his case.


                SO ORDERED.

Dated:          July 1, 2023


                                                    /s/     Lewis A. Kaplan
                                              ____________________________________________
                                                             Lewis A. Kaplan
                                                        United States District Judge
